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NDFL 2458 (Rev. 11/16)      Judgment in a Criminal Case
                            Sheet J



                                       UNITED STATES DISTRICT COURT
                                              Northern District of Florida
                                                                         )
              UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                 v.                                      )
                                                                         )
                                                                         )      Case Number:            3: 17cr55-0021MCR
                    D'MARKUS A. JAMES                                    )      USMNumber:              25659-017
                                                                         )
                                                                         )      Donald M.~heehiln (Ap:r)Oint~d - CJA)
                                                                         )      Defendant' 5 Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)       Five of the Indictment on June     2017

o   pleaded nolo contendere to count(s)
    which was accepted by the court.
                                                 - - - - - - - _ ..... _ - - - - ..... _ - - - - - - - -                 --------­

o   was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                                            Offense Ended    Count

18 U.S.c. § 922(g)(l) and      Possession ofa Firearm by a Convicted Felon                                  March 28, 2017   Five
18 U.S.C. § 924(a)(2)



       The defendant is sentenced as provided in pages 2 through       _---'_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has been found not guilty on count(s)

o Count(s)                                                0 is   o   are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       October 11, 2017:........._ __
                                                                       Date of Imposition of Judgment




                                                                      ~'OiJ~~                                                                       1
                                                                       M. Cas,!yRodgers, Chief United States District Court
                                                                                                                                                    I
                                                                       Name and Title of Judge


                                                                       October
                                                                       Date
                                                                                    :2J             ,2017                                           I
                     Case 3:17-cr-00055-MCR                   Document 78           Filed 10/23/17     Page 2 of 7
NDFL 245B (Rev. 11/16)     Judgment in a Criminal Case
                           Sheet 2 - Imprisonment

                                                                                                   Judgment - Page          of
DEFENDANT:                  D'MARKUS A. JAMES
CASE NUMBER:                3: 17cr55-0021MCR

                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
          108 months imprisonment as to Count Five.



     ~ The court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that the defendant be designated to FCT Marianna, Florida, or to a Bureau of Prisons facility
          for confinement as near to Pensacola, Florida, as reasonably possible.

          The court identifies the defendant as a person in need of a focused, intensive substance abuse treatment program, both
          during incarceration and on reentry through a residential reentry center.

          The court recommends the defendant's placement into the BOP's Residential Drug Abuse Program. Additionally,
          while awaiting placement into RDAP, or, if deemed ineligible for RDAP due to the time of sentence, or for any other
          reason, the court orders the defendant to complete Drug Education classes and fully participate in the BOP's
          nonresidential drug abuse treatment program. Further, the court strongly recommends that the defendant participate in
          any cognitive behavioral therapy programming available.


          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

          o at                               0 a.m. o p.m.                   on

          o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States MarshaL
       o as notified by the Probation or Pretrial Services Office.
                                                                   RETURN
                                                                                                                                   I
                                                                                                                                   t


I have executed this judgment as follows:                                                                                          I
                                                                                                                                   I
         Defendant delivered on                                                           to

at                        -------­
                                                     , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                           By
                                                                                                                                              I
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                                                                                                                                              I!
NDFL 2458 (Rev. 11116)    Judgment in a Criminal Case
                          Sheet 3 Supervised Release

                                                                                                      Judgment-Page ~_3_ of            7
DEFENDANT:               D'MARKUS A. JAMES
CASE NUMBER:             3: 17cr55-002/MCR
                                                                                                                                              I
                                                        SUPERVISED RELEASE                                                                    \
Upon release from imprisonment, you will be on supervised release for a total term of: 3 years as to Count Five.




                                                  MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D   The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.    [gJ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.     D   You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     D   You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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NDFL 245B (Rev. 11116)      Judgment in a Criminal Case
                            Sheet 3A - Supervised Release

                                                                                                Judgment-Page _ _-,-4_ _ of _ _ _7_ __
DEFENDANT:                    D'MARKUS A. JAMES
CASE NUMBER:                  3: 17cr55-0021MCR

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
S.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware ofa change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines tllat you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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NDFL 245B (Rev. 11/16)   Judgment in a Criminal Case
                         Sheet 3D - Supervised Release

                                                                                        Judgment-Page _ ...:5~ of
DEFENDANT:               D'MARKUS A. JAMES
CASE NUMBER:             3: 17cr55-0021MCR

                                    SPECIAL CONDITIONS OF SUPERVISION

     1. You will be evaluated for substance abuse and mental health and referred to treatment as determined
        necessary through an evaluation process. Treatment should include participation in a Cognitive Behavior
        Therapy program. You will be tested for the presence of illegal controlled substances or alcohol at any time
        during the term of supervision.

    2. You will submit your person, property, house, or vehicle to a search conducted by a United States probation
       officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
       occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a
       search pursuant to this condition only when reasonable suspicion exists that you have violated a condition
       of your supervision and that the areas to be searched contain evidence of this violation. Any search must be
       conducted at a reasonable time and in a reasonable manner.




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NDFL 2458 (Rev. 11116)     Judgment in a Criminal Case
                           Sheet 5 Criminal Monetary Penalties
                                                                                                   Judgment     Page     6
                                                                                                                       -.-~
                                                                                                                                of       7
 DEFENDANT:                     D'MARKUS A. JAMES
 CASE NUMBER:                   3: 17cr55-0021MCR

                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment               JVTA Assessment*                 Fine                       Restitution
 TOTALS            $ 100.00                 $ 0 - none                       $ 0 waived                 $ 0 - none


o   The determination of restitution is deferred until
                                                       -----
                                                             . An Amended Judgment in a Criminal Case (AG 245C) will be entered
    after such determination.

o   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

 Name of Payee                             Total Loss**                      Restitution Ordered                       Priority or Percentage




TOTALS                             $ ---------­                          $

o   Restitution amount ordered pursuant to plea agreement $

o   The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.s.c. § 3612(1). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    o the interest requirement is waived for the o fine 0 restitution.
    o the interest requirement for the o fine 0 restitution is modified as follows:
* Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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NDFL 2458 (Rev. 11/16)      Judgment in a Criminal Case
                            Sheet 6 - Schedule of Payments

                                                                                                                  Judgment   Page           of
 DEFENDANT:                 D'MARKUS A. JAMES
 CASE NUMBER:               3: 17cr55-002/MCR

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $        100.00 Special Monetary Assessment, due immediately
                                       -------

    o not later than            ____...---.,........;' or
    o in accordance with 0 C, 0 D, 0 E, or 0 F below; or                                                                                                I
                                                                                                                                                        ,
                                                                                                                                                        t
B o Payment to begin immediately (may be combined with 0 C, o D, or 0 F below); or                                                                      f
  o Payment in equal
C


 D    0 Payment in equal
                                    to commence
                          (e.g., months or years),
                                                           installments of $
                                                     (e.g., weekly, monthly, quarterly)
                                                                             after the date
                                                                                          (e.g., 30 or 60 days)

                                                    (e.g., weekly, monthly, quarterly) installments of $
                                                                                                                                     over a period of
                                                                                                                                    judgment; or

                                                                                                                                  over a period of
                                                                                                                                                        I
                          (e.g., months or years), to commence                         (e.g, 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0 Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     0 Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

o Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

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